Case 9:06-cr-00030-MAC-CLS             Document 721         Filed 02/01/07       Page 1 of 1 PageID #:
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                         LUFKIN DIVISION



 UNITED STATES OF AMERICA                           §
                                                    §
 V.                                                 §            NO. 9:06-CR-30-11
                                                    §
 YESIKA CARRILLO                                    §


        ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT


         On this day, the court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Earl S. Hines regarding defendant’s plea of guilty to Count I of the Information in

 the above-numbered case. Having conducted a proceeding in the form and manner prescribed by

 Fed. R. Crim. P. 11, the magistrate judge recommends that the court conditionally accept the plea

 agreement and the guilty plea of defendant. The court is of the opinion that the Findings of Fact and

 Recommendation should be accepted.


         Accordingly, it is ORDERED that the Findings of Fact and Recommendation of the United

 States magistrate judge are ADOPTED.


         It is further ORDERED that the court conditionally accepts the plea agreement as to Count

 I of the Information and will defer its final decision as to acceptance or rejection until there has been

 an opportunity to consider the presentence report.

         SIGNED this the 1 day of February, 2007.




                                         ____________________________
                                         Thad Heartfield
                                         United States District Judge
